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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                         JOHN DOE, et al.,
                                   7                                                        Case No. 22-cv-03580-WHO
                                                        Plaintiffs,
                                   8
                                                 v.                                         ORDER GRANTING
                                   9                                                        ADMINISTRATIVE MOTIONS TO
                                         META PLATFORMS, INC., et al.,                      FILE UNDER SEAL
                                  10
                                                        Defendants.
                                  11                                                        Dkt. Nos. 77, 99, 143

                                  12
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                                  13          Meta seeks to seal information regarding its data filtration systems in the preliminary

                                  14   injunction briefing and supporting declarations. In particular, on October 17, 2022, defendant

                                  15   Meta Platforms, Inc. made an administrative motion to file under seal one sentence from the

                                  16   Declaration of Tobias Wooldridge (“Wooldridge Decl.”) and the corresponding portion of Meta’s

                                  17   opposition to plaintiffs’ motion for a preliminary injunction that restates that factual information.

                                  18   Dkt. 77. In support of its administrative motion, Meta filed the declaration of Lauren Goldman,

                                  19   who argues that the information at issue should be sealed because it provides insight into Meta’s

                                  20   methodologies and techniques used to detect and filter out potentially sensitive information. See

                                  21   Declaration of Lauren Goldman (“Goldman Decl.”) [Dkt. 77-2] ¶ 4. Goldman claims that this

                                  22   information is confidential and proprietary, and that disclosure of this information would cause

                                  23   competitive harm. Id. ¶¶ 4–5.

                                  24          On October 26, 2022, plaintiffs made an administrative motion to file under seal three

                                  25   words from their reply brief and portions of the Declaration of Christo Wilson (“Wilson Decl.”)

                                  26   that reference information contained within the Wooldridge Decl. See Dkt. 99. In support of

                                  27   plaintiffs’ administrative motion, Meta filed a statement in support of the motion to seal, arguing

                                  28   that the information at issue should be sealed for the same reasons as set forth in Meta’s initial
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                                   1   motion to seal—i.e., that the information at issue consisted of Meta’s “internal proprietary,

                                   2   commercially sensitive, and confidential information,” and that Meta would be competitively

                                   3   disadvantaged by disclosure. Dkt. 109 at 1.

                                   4            Finally, on November 23, 2022, Meta made another administrative motion to file under

                                   5   seal substantial portions of the Supplemental Declaration of Tobias Wooldridge (“Supp.

                                   6   Wooldridge Decl.”). Dkt. 143. The Supp. Wooldridge Decl. addresses the feasibility of Wilson’s

                                   7   suggestions for improving Meta’s data filtration systems. See Supp. Wooldridge Decl. [Dkt. 143-

                                   8   3] ¶¶ 2, 16–51. In support of the administrative motion, Meta filed a declaration by Lauren

                                   9   Goldman which was largely identical to the previous Goldman Decl. Compare Dkt. 77-2 to Dkt.

                                  10   143-2.

                                  11            In the Ninth Circuit, a party seeking to seal judicial records related to a dispositive matter

                                  12   can only overcome the “strong presumption” of public access to judicial records by demonstrating
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                                  13   “sufficiently compelling reasons” that override the public policies favoring disclosure. In re

                                  14   Midland Nat’l Life Ins. Co Annuity Sales Practices Litig., 686 F.3d 1115, 1119 (9th Cir. 2012);

                                  15   see also Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1179 (9th Cir. 2006). To seal

                                  16   records associated with a dispositive matter, “the district court must articulate a factual basis for

                                  17   each compelling reason to seal” offered by the party. In re Midland Nat’l Life Ins. Co., 686 F.3d

                                  18   at 1119. “What constitutes a ‘compelling reason’ is best left to the sound discretion of the trial

                                  19   court.” Ctr. for Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1097 (9th Cir. 2016) (quoting

                                  20   Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 599 (1978)). When seeking to file under seal

                                  21   judicial records related to a non-dispositive matter, the party must make a “particularized”

                                  22   showing of good cause under Federal Rule of Civil Procedure 26(c). Id.

                                  23            Civil Local Rule 79-5 allows the Court to seal documents only upon a request that

                                  24   establishes that the document, or portions thereof, are sealable. Civil L.R. 79-5. The request must

                                  25   be narrowly tailored to seek sealing only of sealable material and be supported by a declaration

                                  26   establishing compelling reasons or good cause to justify the sealing. Id. Reference to a

                                  27   stipulation or protective order that allows a party to designate information as confidential or

                                  28   sealable is insufficient to establish that the information should be sealed by the Court. Id.
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                                   1          Because the preliminary injunction motion here was more than tangentially related to the

                                   2   merits of the case, Meta must show compelling reasons justify keeping the information under seal.

                                   3   Chrysler Grp., 809 F.3d at 1103. At this early stage in the case, I conclude that Meta has done so.

                                   4          Meta seeks to seal information regarding the amount of data that Meta receives and Meta’s

                                   5   techniques used to detect and filter out potentially sensitive information. The details of how and

                                   6   why Meta has designed its filtration systems are confidential, proprietary commercial information;

                                   7   Meta contends that the disclosure of this information would cause competitive harm because

                                   8   competitors would gain unfair insight into how Meta’s systems operate and be able to duplicate

                                   9   features of Meta’s filtration systems. Goldman Decl. ¶¶ 4–5. The disclosure of business

                                  10   information that could create competitive harm is a compelling reason to seal. Chrysler Grp., 809

                                  11   F.3d at 1097; see also In re Google Inc. Gmail Litig., No. 13-md-02430-LHK, 2013 WL 5366963,

                                  12   at *3 (N.D. Cal. Sept. 25, 2013) (finding “compelling reasons to seal” “specific descriptions of
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                                  13   how Gmail operates”); Adtrader, Inc. v. Google LLC, No. 17-cv-07082- BLF, 2020 WL 6395513,

                                  14   at *2 (N.D. Cal. Feb. 4, 2020) (finding “a compelling reason” to seal “confidential, non-public

                                  15   information related to how Google maintains the security of its advertising products,” including

                                  16   “systems functionality related to detecting and addressing invalid activity”); Hadley v. Kellogg

                                  17   Sales Co., No. 16-cv-04955-LHK, 2018 WL 7814785, at *2 (N.D. Cal. Sept. 5, 2018) (finding

                                  18   “compelling reasons” to seal information providing insight into “business strategies and internal

                                  19   decisionmaking”). I accept Meta’s representations regarding the competitive harm that could

                                  20   result from disclosure of the information at issue. As the case continues and the factual record

                                  21   becomes more robust, however, Meta will need to provide more support to show that disclosure of

                                  22   general information of how the filtration systems work—i.e., the information at issue in the reply

                                  23   brief—would competitively harm Meta. See Dkt. 99-2.

                                  24          Meta also argues that disclosure of this information could impede Meta’s integrity efforts

                                  25   aimed at detecting and filtering out unwanted and potentially sensitive health information.

                                  26   Goldman Decl. ¶ 6. Courts in this district have found that compelling reasons support sealing

                                  27   material that could hinder efforts to avoid unwanted materials or activity. See In re Google Inc.

                                  28   Gmail Litig., 2013 WL 5366963, at *3 (finding compelling reasons to seal information relating to
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                                   1   Google’s defenses “to combat spammers, hackers, and others who propagate” unwanted or

                                   2   harmful materials); Adtrader, 2020 WL 6395513, at *2 (finding compelling reasons to seal

                                   3   information that individuals could use to manipulate “systems information about how Google

                                   4   detects and reacts to invalid activity”). As noted above, I credit Meta’s representations regarding

                                   5   the consequences of disclosure at this early stage.

                                   6          Because Meta has established compelling reasons exist for sealing the information at issue,

                                   7   the administrative motions to seal are GRANTED.

                                   8          This order resolves Dkt. Nos. 77, 99, and 143.

                                   9          IT IS SO ORDERED.

                                  10   Dated: December 21, 2022

                                  11                                                    ______________________________________
                                                                                        WILLIAM H. ORRICK
                                  12                                                    United States District Judge
Northern District of California
 United States District Court




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